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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                                 BILLINGS DIVISION


  UNITED STATES OF AMERICA,                         CR 21-63-BLG-SPW


                         Plaintiff,
                                                ORDER SETTING
           vs.                                  SENTENCING

 BRIAN DEAN PRETTY WEASEL,

                         Defendant.


      Defendant entered his plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on November 18, 2021. United States Magistrate Judge

Timothy J. Cavan entered Findings and Recommendation in this matter on

November 18, 2021 (Doc. 27). No objections having been filed within fourteen

days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 27)are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Wednesday, April 20,2022 at 9:30 a.m., in the

James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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